          Case 4:22-md-03047-YGR Document 85-1 Filed 11/21/22 Page 1 of 2




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 6                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
 7                                   OAKLAND DIVISION

 8   IN RE: SOCIAL MEDIA ADOLESCENT                         MDL 3047
     ADDICTION/PERSONAL INJURY
 9   PRODUCTS LIABILITY LITIGATION
     _________________________________________
10
     This Document Relates to:
11
     JOLEEN YOUNGERS, As Personal
12   Representative of the Wrongful Death Estate of
     I.G., A Deceased Minor Child; MATTHEW                  Case No. 4:22-md-03047-YGR
13   GONZALES; ALISA GONZALES and ELSA
     ACEVEDO,                                               Hon. Yvonne Gonzalez Rogers
14
      Plaintiffs,
15
     v.                                                     MOTION FOR LEAVE TO
16                                                          FILE AMENDED COMPLAINT
     TIKTOK INC. and BYTEDANCE INC.
17
      Defendants.
18
     Member case: 4:22-cv-06456-YGR
19   Case in other court: N.M., 1:22-cv-00706-JFR-LF

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21                  ORDER GRANTING LEAVE TO FILE AMENDED COMPLAINT

22           Before the Court is the Unopposed Motion for Leave to File Amended Complaint filed by

23   Plaintiffs Joleen Youngers, as Personal Representative of the Wrongful Death Estate of I.G., a

24   deceased minor Child; Matthew Gonzales; Alisa Gonzales and Elsa Acevedo (the “Motion”). The

     Order Granting Leave to File Amend Complaint
     Case No. 4:22-md-03047-YGR, Related to: 4:22-cv-06456-YGR                              Page 1 of 2
          Case 4:22-md-03047-YGR Document 85-1 Filed 11/21/22 Page 2 of 2




 1   Court having fully considered the Motion, along with all the other papers on file with the Court, is

 2   of the opinion that the Motion should be, and is hereby, GRANTED. It is therefore ORDERED

 3   that Plaintiffs are granted leave to file an amended complaint within three (3) days of the date of

 4   this Order.

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 7                                                 _________________________________________________
                                                   HONORABLE YVONNE GONZALEZ ROGERS
 8                                                 UNITED STATED DISTRICT JUDGE

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     Order Granting Leave to File Amend Complaint
     Case No. 4:22-md-03047-YGR, Related to: 4:22-cv-06456-YGR                                 Page 2 of 2
